









Dismissed and Memorandum Opinion filed April 20, 2006









Dismissed and Memorandum Opinion filed April 20, 2006.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-06-00259-CR

____________

&nbsp;

ALVIN LEE
FRYE, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
180th District Court

Harris County,
Texas

Trial Court Cause No. 1053072

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant entered a guilty plea to unauthorized use of a
vehicle.&nbsp; In accordance with the terms of
a plea bargain agreement with the State, the trial court sentenced appellant
on&nbsp; February 21, 2006, to confinement for
two years in the Institutional Division of the Texas Department of Criminal
Justice.&nbsp; Appellant filed a pro se notice
of appeal.&nbsp; We dismiss the appeal.&nbsp; 








The trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp; The trial court=s certification is included in the
record on appeal.&nbsp; See Tex. R. App. P. 25.2(d).&nbsp; The record supports the trial court=s certification.&nbsp; See Dears v. State, 154 S.W.3d 610,
615 (Tex. Crim. App. 2005).

Accordingly, we dismiss the appeal.&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed April 20, 2006.

Panel consists of Chief Justice
Hedges and Justices Yates and Guzman. 

Do Not Publish C Tex. R. App. P. 47.2(b).





